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FORM 9. Certificate of Interest                                                  Form 9 (p. 1)
                                                                                  March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2024-____
   Short Case Caption Apple Inc. v. International Trade Commission
   Filing Party/Entity Apple Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        12/26/2023
  Date: _________________                    Signature:   /s/ Mark D. Selwyn

                                             Name:        Mark D. Selwyn
                Case: 24-1285      Document: 3     Page: 2        Filed: 12/26/2023



FORM 9. Certificate of Interest                                                       Form 9 (p. 2)
                                                                                       March 2023


     1. Represented                   2. Real Party in             3. Parent Corporations
         Entities.                        Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of        Provide the full names of
 all entities represented by      all real parties in interest     all parent corporations for
 undersigned counsel in           for the entities. Do not list    the entities and all
 this case.                       the real parties if they are     publicly held companies
                                  the same as the entities.        that own 10% or more
                                                                   stock in the entities.

                                     None/Not Applicable               None/Not Applicable

Apple Inc.                        None.                           None.




                                     Additional pages attached
                Case: 24-1285     Document: 3   Page: 3   Filed: 12/26/2023



FORM 9. Certificate of Interest                                               Form 9 (p. 3)
                                                                               March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                    Additional pages attached

WILMER CUTLER PICKERING HALE AND DORR LLP: David L. Cavanaugh,
Richard Goldenberg, Michael D. Esch




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
       Yes (file separate notice; see below)      No        N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
          None/Not Applicable                    Additional pages attached

 None.
